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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF PENNSYLVANIA


IN RE: DOMESTIC DRYWALL                                 MDL No. 2437
ANTITRUST LITIGATION                                    13-MD-2437


THIS DOCUMENT RELATES TO:
All Actions


     MEMORANDUM OF LAW RE PLAINTIFFS’ MOTION TO COMPEL DISCOVERY
                        FROM THIRD PARTIES

Baylson, J.                                                                November 14, 2014

I.      Introduction

        Plaintiffs, who have alleged in this multi-district litigation that Defendants, domestic

drywall manufacturers, engaged in price-fixing in violation of antitrust laws, have sought

discovery of reports and investigative files prepared by two non-party analysts who collect

information on the drywall industry from sources they often keep confidential. The Court

previously ruled that Plaintiffs were only entitled to receive these materials with redactions to

protect the analysts’ confidential information, but left open the possibility that the discovery

process might reveal facts warranting broader access. Plaintiffs argue that this has now occurred,

and accordingly have moved for access to unredacted versions of the analysts’ investigative files

and reports. Pl.’s Mot., ECF 135; Mem. of Law Supp. Pl.’s Mot., ECF 136

II.     Background and Facts

        A.     Thompson Research Group, LLC’s Motion to Quash

        In its Motion to Quash, ECF 1, Case No. 14-MC-52 (E.D. Pa.), Thompson Research

Group, LLC (“TRG”) objected under Federal Rule of Civil Procedure 45 to production of two
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types of materials: 1) reports containing research findings and opinions on industry trends,

which TRG sells primarily to institutional investors, and 2) the investigative files documenting

research on which the reports are based. 1 The Court granted TRG’s motion in part. Mem. of

Law, ECF 120, Case No. 13-MD-2437 (E.D. Pa.); Order, ECF 121. Applying the burden-

shifting framework of Rule 45, the Court held that Plaintiffs had shown a substantial need for 1)

factual statements attributed to confidential sources in TRG’s reports and 2) file notes regarding

the substance of its communications with these sources for the purpose of determining “what

pricing information TRG may have communicated to all the defendant manufacturers.” Mem. of

Law 9–13, 15–19, ECF 120. Plaintiffs, however, had not shown a substantial need for TRG’s

opinions and analysis contained in its reports, and also, Plaintiffs’ interest in obtaining the

identities of TRG’s sources was outweighed by TRG’s interest in maintaining their

confidentiality. Id. at 15–16, 21–26.

        Accordingly, the Court concluded that TRG must produce its reports and investigative

files, but allowed TRG to redact any opinions and analysis contained in its reports, as well as

names of any confidential sources that appeared in either its reports or investigative files. 2 Id. at

20, 26. The Court left open the possibility that Plaintiffs could be entitled to further discovery of




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             The Court has already described the research activities of TRG and Longbow Research (“Longbow”) in
detail in its opinion on TRG’s Motion to Quash.
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           The Court also held that the subpoena was not otherwise unduly burdensome to TRG, and that TRG was
only entitled to compensation for the costs it incurred in producing the materials rather than the value of the
intellectual property contained in the reports.
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these materials, but only based on “a stronger showing by Plaintiffs than ha[d] been presented.” 3

Id. at 33–34.

        B.       Events After the Court’s Ruling

        After the Court ruled on TRG’s motion, TRG produced its investigative files with its

sources’ names redacted. Plaintiffs notified the Court that they would review TRG’s initial

production before determining whether they additionally needed TRG’s reports. Mem. of Law

Supp. Pl.’s Mot. 6–7, ECF 136; TRG’s Resp. Opp’n re Mot. 3, ECF 146. In the meantime,

without objecting to the identical subpoena it received from Plaintiffs, Longbow also produced

its investigative files with its sources’ identities redacted. Longbow Resp. Opp’n re Mot. 1–2,

ECF 142.

        Notwithstanding the redactions, Plaintiffs were able to determine from the investigative

files that certain Defendants’ personnel had been communicating with the analysts, which

Plaintiffs claim supports their conduit theory. See, e.g., Mem. of Law Supp. Pl.’s Mot. 7, ECF

136. Moreover, after the Court ruled on TRG’s Motion to Quash, Defendants “identified which

of their employees served as sources for TRG and Longbow” in their answers to Plaintiffs’

interrogatories. Id. at 3 n.6; Pl.’s Reply 1, ECF 151. In late August, armed with these materials

as well as contemporaneous telephone and email records, Plaintiffs deposed Mr. Craig

Weisbruch, a Vice President of Sales and Marketing for Defendant NGC, about whether he

served as a confidential source for TRG and/or Longbow. Mem. of Law Supp. Pl.’s Mot. 8–23,




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           The Court had ordered the parties to submit within fourteen days a proposed order outlining 1) measures
to protect the confidentiality of TRG’s sources, including redaction; 2) measures to narrow discovery of TRG’s files
to materials relevant to Plaintiffs’ “conduit” theory; and 3) what compensation Plaintiffs would provide to TRG. Id.
at 33. The parties were never able to agree on these issues, resulting in Plaintiffs’ motion.
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ECF 136. Mr. Weisbruch admitted that he discussed NGC’s pricing decisions with both TRG

and Longbow, but refused to confirm that he was the source of any particular communications

memorialized in their investigative files, even when confronted with strong circumstantial

evidence that he was the confidential source. See id.

        TRG also informed Plaintiffs after the Court issued its May 15 Order that it would redact

all opinions and analysis from any reports it produced at an estimated cost of $10,000. 4 Id. at 8.

After further discovery, however, Plaintiffs discovered that TRG had provided its reports to

Defendants for free. Id. at 3–4. Plaintiffs were previously unsure whether Defendants had ever

received any TRG reports. Id. Based on their review of the investigative files TRG had

produced, Plaintiffs also concluded that the complete reports would be duplicative and of little

additional value after all but “unattributed factual statements and quotations from Defendants”

were redacted. Id. at 8. Plaintiffs therefore offered to purchase unredacted reports from TRG for

a “reasonable” price less than the $10,000 estimated cost of redaction, but TRG refused. Id.

        Plaintiffs have now filed a motion to compel TRG to reveal the identities of any of

Defendants’ personnel whose names are redacted from the investigative files 5 and to sell

unredacted versions of its reports to Plaintiffs. Plaintiffs assert that they have now made the

stronger showing the Court indicated would be necessary for further discovery into TRG and

Longbow’s protected materials. Plaintiffs claim that a number of new circumstances justify




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           This estimate assumes “twenty (20) minutes for TRG’s CEO or CFO to review and redact each report at a
rate of $300 per hour, plus approximately $1,000 for TRG’s counsel to review the redactions.” Mem. of Law Supp.
Pl.’s Mot. 8, ECF 136.
         5
           Plaintiffs have made clear that they do not object to redactions of the identities of confidential sources
who were not Defendants’ personnel. Pl.’s Reply 1 n.1, ECF 151.
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additional discovery, most notably: the presence of relevant communications in the investigative

files the analysts have produced; Mr. Weisbruch’s recalcitrance during his deposition, which

Plaintiffs fear other defense witnesses might imitate in the future; and TRG’s refusal to sell

unredacted reports to Plaintiffs despite having given them to Defendants for free. TRG and

Longbow contend that they have complied with the Court’s May 15 Order and no new

circumstances warrant further discovery of these protected materials. 6

        The Court held oral argument on Plaintiff’s motion on October 6, 2014. During the

hearing, the Court questioned whether Plaintiffs had demonstrated a “substantial need” to use

unredacted investigative files in depositions of Defendants’ personnel, as there was already

strong circumstantial evidence that Mr. Weisbruch was the confidential source whose identity

was redacted from documents presented to him at his deposition. The Court also expressed

doubt that it could require a non-party to sell a product it did not want to sell. The Court

therefore requested further briefing on whether it had authority to require TRG to sell its reports

to Plaintiffs. By letter dated October 29, 2014, Plaintiffs submitted that the Court need not order

TRG to sell its reports; rather, the Court may order production of the reports as relevant materials

under Rule 26 and find that “the compensation Plaintiffs have already offered TRG is

reasonable” under Rule 45. Letter from Jeffrey J. Corrigan, Esq. 2, Oct. 29, 2014, ECF 172.




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           Defendants also submitted a letter to the Court on September 23, 2014 advising that they did not object to
additional discovery of the analysts’ files or reports. Letter from Robert A. Milne, Esq. 2, Sept. 23, 2014, ECF 149.
They contend, however, that neither the documents the analysts had already produced nor other record evidence
supported Plaintiffs’ conduit theory. Id. at 2–9.
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III.     Discussion

         Plaintiffs do not dispute that the materials they seek remain protected under Rule

45(d)(3)(B)(i) and (ii), but argue that new circumstances emerged during the discovery process

weighing in favor of disclosure, rather than protection, of these materials. 7 The Court concludes

Plaintiffs have not sustained this burden.

         A.       TRG and Longbow’s Investigative Files

         Plaintiffs have not demonstrated that their need for unredacted investigative files

outweighs TRG and Longbow’s interests in maintaining the confidentiality of their sources.

Although TRG and Longbow’s confidentiality interest has lessened now that Defendants have

revealed which of their employees served as confidential sources to the analysts, Plaintiffs now

possess—in addition to redacted versions of TRG and Longbow’s investigative files—email

communications between TRG and Longbow and their sources as well as written discovery

from, and documents produced by, Defendants. Mem. of Law Supp. Pl.’s Mot. 3 n.6, 9, Ex. A,

ECF 136; Longbow Resp. Opp’n re Mot. 2, ECF 142; TRG’s Resp. Opp’n re Mot. 3, ECF 146.

         Plaintiffs have found circumstantial evidence in the materials they have already obtained

that Mr. Weisbruch is the individual identified in TRG’s investigative files, and Plaintiffs may

find similar evidence in these materials regarding certain Defendants’ other personnel. As noted




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            As the Court explained in its May 15 ruling, once a nonparty establishes that a subpoena requests
materials subject to Rule 45(d) protection, the burden shifts to the requesting party to show “‘a substantial need for
the testimony or material that cannot be otherwise met without undue hardship,’ and demonstrate “that the
subpoenaed [nonparty] will be reasonably compensated.” Mem. of Law, 5–6, ECF 120 (citations omitted). If the
requesting party is able to demonstrate a substantial need and that it will provide reasonable compensation for the
materials, the Court then “weigh[s] (1) the relevance, (2) need, (3) and confidentiality of the requested materials, as
well as (4) the harm that compliance would cause the subpoenaed nonparty” to determine whether the protected
information should be disclosed. Id. at 6.
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at the hearing, however, if TRG or Longbow’s redactions cause substantial prejudice to

Plaintiffs, such as in responding to a motion for summary judgment or at trial, the Court is

willing to consider on a case-by-case basis further modifications or steps such as in camera

review.

          B.       TRG’s Reports

          Although the Court may order TRG to produce its unredacted reports in exchange for

“reasonable compensation” equaling the cost of production if Plaintiffs make the requisite

showing under Rule 45, Plaintiffs have not submitted any other authority permitting the Court to

order TRG to sell its unredacted reports to Plaintiffs.                    The only new circumstance to which

Plaintiffs have pointed is that they assert TRG provided some of its reports to Defendants free of

charge. 8 Mem. of Law Supp. Pl.’s Mot. 3–4 & n.8, ECF 136. This does not demonstrate that

Plaintiffs have a substantial need for TRG’s opinions and analyses contained in the reports. The

Court therefore will not modify its May 15 Order.

VII.      Conclusion

          For the foregoing reasons, Plaintiffs’ Motion to (A) Obtain Unredacted Investigative

Files from Thompson Research Group, LLC and Longbow Research; and (B) Purchase

Unredacted Reports from Thompson Research Group, LLC will be DENIED. An appropriate

order follows.

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          If Defendants in fact have any or all of TRG’s reports, presumably they would have been subject to
production. Plaintiffs have not specifically asserted any failure to produce by Defendants themselves.
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